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                                                                                           July 12, 2023


  VIA ECF

  The Honorable Leda D. Wettre, U.S.M.J.
  United States District Court
  Martin Luther King, Jr. Federal Building
  50 Walnut Street, Room 2060
  Newark, New Jersey 07102

           Re:      Axsome Therapeutics, Inc., et al. v. Teva Pharmaceuticals, Inc.
                    Civil Action No. 23-1695 (MEF)(LDW)

  Dear Judge Wettre:

       This firm, together with Quinn Emanuel Urquhart & Sullivan, LLP, represents Plaintiffs
  Axsome Therapeutics, Inc. and Antecip Bioventures II LLC in the above-captioned matter.

          Enclosed is the parties’ Joint Proposed Discovery Plan. We look forward to discussing
  this and any other issues Your Honor wishes to address at the Initial Scheduling Conference on
  July 19 at 12:00 p.m.

           Thank you for Your Honor’s kind attention to this matter.

                                                                                           Respectfully yours,



                                                                                           Charles M. Lizza

  Enclosure
  cc: All counsel (via email)




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                                                     A DELAWARE LIMITED LIABILITY PARTNERSHIP
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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  AXSOME THERAPEUTICS, INC., and                       Civil Action No. 23-1695 (MEF)(LDW)
  ANTECIP BIOVENTURES II LLC,
                                                       JOINT PROPOSED DISCOVERY
                        Plaintiffs,                    PLAN
         v.                                            (Filed Electronically)
  TEVA PHARMACEUTICALS, INC.,
                                                       Initial Scheduling Conference:
                        Defendant.                     July 19, 2023 at 12:00 PM ET.



        Pursuant to Federal Rules of Civil Procedure 16 and 26(f) and Local Civil Rule 26.1(b),

 Plaintiffs Axsome Therapeutics, Inc. (“Axsome”) and Antecip Bioventures II LLC (“Antecip”

 and, collectively with Axsome, “Plaintiffs”) and Defendant Teva Pharmaceuticals, Inc. (“Teva”

 or “Defendant”) have conferred and submit the following Joint Proposed Discovery Plan.

 1.     Set forth a factual description of the case. Include the causes of action and
        affirmative defenses asserted.

         Joint Response: This is an action for patent infringement under the patent laws of the
 United States, 35 U.S.C. § 100, et seq., filed by Plaintiffs in response to Teva’s submission of
 Abbreviated New Drug Application (“ANDA”) No. 218147 (“Teva’s ANDA”) with the United
 States Food and Drug Administration (“FDA”).

        Axsome sells the prescription pharmaceutical product Auvelity® for the treatment of
 major depressive disorder (“MDD”). Auvelity® was approved by the FDA on August 18, 2022
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 and is a combination of two active ingredients, dextromethorphan and bupropion. Teva’s ANDA
 seeks approval from the FDA to commercially market a generic version of Auvelity® before the
 expiration of United States Patent Nos. 10,780,064 (“the ’064 patent”), 10,925,842 (“the ’842
 patent”), 10,940,124 (“the ’124 patent”), and 10,966,942 (“the ’942 patent”) (collectively, “the
 patents-in-suit”), all of which Plaintiffs contend are owned by Antecip and exclusively licensed
 to Axsome. The claims of the patents-in-suit cover, inter alia, methods of using
 dextromethorphan and bupropion to treat MDD. The Orange Book identifies January 7, 2040 as
 the expiration date for the four patents-in-suit.

         Plaintiffs commenced this action following receipt of a notice letter from Teva, dated
 February 9, 2023, in which Teva stated that it sought to commercially market a generic version
 of Plaintiffs’ Auvelity® drug product before the expiration of the patents-in-suit. Each of the
 patents-in-suit is listed in the Orange Book for Auvelity®. The Orange Book additionally lists
 more than 100 other patents that Plaintiffs contend cover Auvelity® and methods of using
 Auvelity® that are not the subject of Teva’s notice letter. The latest expiring of those patents are
 set to expire on November 5, 2034. As such, the FDA cannot approve Teva’s ANDA until at
 least November 5, 2034.

         In this case, Plaintiffs assert that Teva’s ANDA submission constitutes infringement of
 one or more claims of each of the patents-in-suit. Teva denies infringement of the patents-in-suit
 and alleges that the patents-in-suit are invalid.

 2.     Have settlement discussions taken place? Yes                  No    X      .

        (a)     What was Plaintiff’s last demand?

                (1) Monetary demand: $ ____N/A____
                (2) Non-monetary demand: ____N/A____

        (b)     What was Defendant’s last offer?

                (1) Monetary offer: $ ____N/A____
                (2) Non-monetary offer: ____N/A____

 3.     The parties have       have not X exchanged the information required by Fed. R.
        Civ. P. 26(a)(1). If not, state the reason therefor.

        Joint Response: The parties’ proposed date for exchange of Rule 26(a)(1) disclosures is
 attached hereto as Exhibit 1.

 4.     Describe any discovery conducted other than the above disclosures.

        Joint Response: Defendant produced ANDA No. 218147. Otherwise, no discovery has
 occurred in this litigation.
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 5.     Generally, dispositive Motions cannot be filed until the completion of discovery.
        Describe any Motions any party may seek to make prior to the completion of
        discovery. Include any jurisdictional Motions and Motions to Amend.

         Joint Response: At this time, the parties do not anticipate filing dispositive motions.
 Should either party wish to file a dispositive motion later in this action, such party shall seek
 leave from the Court after the close of discovery.

 6.     The parties proposed the following:

        (a)     Discovery is needed on the following subjects:

         Joint Response: Discovery relating to the claims and defenses in the parties’ pleadings,
 including infringement and validity of the patents-in-suit, as well as various related issues,
 claims, and affirmative defenses.

        (b)     Should discovery be conducted in phases? If so, explain.

        Joint Response: Discovery should not be conducted in phases.

        (c)     Number of Interrogatories by each party to each other party:

         Joint Response: The Federal Rules of Civil Procedure provide a sufficient starting point
 for the number of interrogatories served by each side. Accordingly, no change to Fed. R. Civ. P.
 33(a)(1) regarding interrogatories is requested. Should the need arise, the parties can discuss the
 possibility of additional interrogatories in the future.

        (d)     Number of Depositions to be taken by each party:

         Joint Response: The Federal Rules of Civil Procedure provide a sufficient starting point
 for the number of depositions taken by each side. Accordingly, no change to Fed. R. Civ. P.
 30(a)(2)(A)(i) regarding depositions is requested. Should the need arise, the parties can discuss
 the possibility of additional depositions in the future.

        (e)     Plaintiffs’ expert report due on _____.

        Joint Response: The parties’ proposed schedule is attached hereto as Exhibit 1.

        (f)     Defendant’s expert report due on _________.

        Joint Response: The parties’ proposed schedule is attached hereto as Exhibit 1.

        (g)     Motions to Amend or to Add Parties to be filed by _____________.

        Joint Response: The parties’ proposed schedule is attached hereto as Exhibit 1.
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        (h)     Dispositive motions to be served within ________ days of completion of
                discovery.

         Joint Response: At this time, the parties do not anticipate filing dispositive motions.
 Should either party wish to file a dispositive motion later in this action, such party shall seek
 leave from the Court.

        (i)     Factual discovery to be completed by ___________.

        Joint Response: The parties’ proposed schedule is attached hereto as Exhibit 1.

        (j)     Expert discovery to be completed by ____________.

        Joint Response: The parties’ proposed schedule is attached hereto as Exhibit 1.

        (k)     Set forth any special discovery mechanism or procedure requested, including
                data preservation orders or protective orders:

        Joint Response: A Discovery Confidentiality Order will be required in this action.

        (l)     A pretrial conference may take place on _____________.

        Joint Response: The parties’ proposed schedule is attached hereto as Exhibit 1.

        (m)     Trial by jury or non-jury Trial?

        Joint Response: Non-jury trial.

        (n)     Trial date: _______________.

        Joint Response: The parties’ proposed schedule is attached hereto as Exhibit 1.

 7.     Do you anticipate any discovery problem(s)? Yes ___ No _X_. If so, explain.

 8.     Do you anticipate any special discovery needs (i.e., videotape/telephone depositions,
        problem with out-of-state witnesses or documents, etc.)? Yes _______ No __X____.

        Plaintiffs’ Response: Should any of the parties’ witnesses be located outside of the
 United States, the parties expect that reasonable efforts will be made to bring those witnesses to
 the United States for deposition. The parties agree to negotiate in good faith should reasonable
 accommodations for remote depositions become necessary, and the parties will agree to a
 protocol for remote depositions in such event.

 9.     State whether this case is appropriate for voluntary arbitration (pursuant to L. Civ.
        R. 201.1 or otherwise), mediation (pursuant to L. Civ. R. 301.1 or otherwise),
        appointment of a special master or other special procedure. If not, explain why and
        state whether any such procedure may be appropriate at a later time (i.e., after
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        exchange of pretrial disclosures, after completion of depositions, after disposition of
        dispositive motions, etc.).

         Joint Response: The parties do not believe this case is appropriate for voluntary
 arbitration, mediation, appointment of a special master, or other special procedure at this time.
 The case is in its nascent stages, and the parties have different views on the issues in this case.
 The parties agree to notify the Court if they believe voluntary arbitration or mediation would aid
 resolution of the action at a later time.

 10.    Is this case appropriate for bifurcation? Yes ___ No X .

 11.    We do ____ do not X consent to the trial being conducted by a Magistrate Judge.

 12.    Pursuant to Local Patent Rule 2.1(a), the parties report the following from the 26(f)
        conference:

        (1) Proposed modification of the obligations or deadlines set forth in these Local
            Patent Rules to ensure that they are suitable for the circumstances of the
            particular case (see L. Pat. R. 1.3);

            Joint Response: The parties have addressed this issue in the proposed schedule
            attached hereto as Exhibit 1.

        (2) The scope and timing of any claim construction discovery, including disclosure
            of and discovery from any expert witness permitted by the Court;

            Joint Response: The parties have addressed this issue in the proposed schedule
            attached hereto as Exhibit 1.

        (3) The format of the Claim Construction Hearing, including whether the Court will
            hear live testimony, the order of presentation, and the estimated length of the
            hearing;

            Joint Response: The parties will submit this information in the Joint Claim
            Construction and Prehearing Statement on the date set forth in Exhibit 1.

        (4) How the parties intend to educate the Court on the patent(s) at issue;

            Joint Response: The parties intend to educate the Court on the patents at issue
            through at least submissions to the Court, which may include Markman and/or other
            tutorial(s).

        (5) The need for any discovery confidentiality order and a schedule for presenting
            certification(s) required by L. Civ. R. 5.3(b)(2).

            Joint Response: The parties will submit a proposed discovery confidentiality order
            by the date set forth in Exhibit 1.
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       (6)
             a. The availability and timing of production of invention records (including
                inventor laboratory notebooks and analytical test results);

                Plaintiffs’ Response: Plaintiffs’ investigation regarding the availability and
                timing of production of invention records is ongoing.

             b. The availability and timing of production of ANDA product research and
                development documents

                Defendant’s Response: Teva’s investigation regarding the availability and
                timing of production of ANDA product research and development records is
                ongoing.

             c. The availability and timing of production of ANDA product samples;

                Defendant’s Response: The parties will discuss production of samples after
                any such requests have been made by Plaintiffs. Based on its understanding
                of the parties’ claims and defenses at this stage, Teva contends that samples
                are not relevant or proportional to the issues in dispute.

             d. The date of conception and the date of reduction to practice for each
                patent asserted in the action, if applicable;

                Plaintiffs’ Response: Plaintiffs will provide the information required by the
                Local Patent Rules with their contentions.

             e. Each inventor’s availability for deposition in the matter;

                Plaintiffs’ Response: The parties will discuss inventor depositions after any
                such requests have been made by Teva.

             f. Availability of foreign witnesses for deposition and foreign documents;

                Plaintiffs’ Response: Plaintiffs are currently unaware of any foreign
                Plaintiffs’ witnesses or documents.

                Defendant’s Response: Teva is currently unaware of any foreign Teva
                witnesses. To the extent relevant foreign documents exist, Teva will conduct
                a reasonable search for and produce such documents in the ordinary course of
                the litigation.

             g. Whether there is a 30-month stay and if so, when it ends;

                Joint Response: The 30-month stay runs until August 10, 2025.

             h. A date for substantial completion of document production and a method
                for determining compliance;
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               Joint Response: The parties’ proposed schedule is attached hereto as Exhibit
               1.

            i. Any other issues or matters that a party believes are time sensitive.

               Joint Response: None at this time.
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  Respectfully submitted,            Dated:   July 12, 2023

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                                             EXHIBIT 1
                         Event                                         Proposed Dates
  Parties exchange Rule 26(a)(1) disclosures              7/26/2023
  Disclosure of Asserted Claims                           7/26/2023
  Parties submit proposed discovery confidentiality       8/2/2023
  order
  Defendant serves non-infringement and invalidity        9/15/2023
  contentions
  Plaintiff serves infringement contentions and           12/15/2023
  responses to invalidity contentions
  Parties exchange proposed claim terms for               1/5/2024
  construction
  Parties exchange preliminary proposed                   1/26/2024
  constructions and identification of intrinsic and
  extrinsic supporting evidence
  Parties exchange identification of all intrinsic and    2/9/2024
  extrinsic evidence they intend to rely upon in
  opposing any proposed claim construction and
  thereafter meet and confer to narrow issues
  Joint Claim Construction and Prehearing Statement       2/28/2024
  Parties complete all fact discovery relating to claim   3/29/2024
  construction
  Opening Markman briefs                                  4/12/2024
  Parties complete all expert discovery pertaining to     5/10/2024
  Markman issues
  Responding Markman briefs                               6/11/2024
  Parties to submit to the Court a proposed schedule      6/25/2024
  for a Markman hearing
  Markman hearing                                         TBD
  Last day to seek to add new parties or amend            8/16/2024
  pleadings
  Substantial Completion of Document Production           8/16/2024
  Close of fact discovery                                 10/18/2024
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                         Event                          Proposed Dates
  Opening expert reports                    60 days after the close of fact discovery
                                            or the Court’s Markman opinion,
                                            whichever is later
  Responding expert reports                 60 days after opening expert reports
  Reply expert reports                      45 days after responding expert reports
  Close of expert discovery                 60 days after reply expert reports
  Pretrial Order                            TBD
  Pretrial Conf.                            TBD
  Trial                                     TBD
